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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
 ________________________________________

 DR. SHIVA AYYADURAI,

                            Plaintiff,
 v.

 WILLIAM FRANCIS GALVIN, MICHELLE
 K. TASSINARI, DEBRA O’MALLEY, AMY
 COHEN, NATIONAL ASSOCIATION OF
 STATE ELECTION DIRECTORS, allegedly                       Case No. 1:20-cv-11889-MLW
 in their individual capacities, and WILLIAM
 FRANCIS GALVIN, in his official capacity as
 Secretary of State for Massachusetts,

                            Defendants,

 and

 TWITTER, INC.,

                      Proposed Additional
                      Defendant.
 ________________________________________


                     PROPOSED ADDITIONAL DEFENDANT
             TWITTER INC.’S NOTICE OF INTENT TO OPPOSE JOINDER

       Proposed Additional Defendant Twitter, Inc. (“Twitter”), by and through its undersigned

counsel, hereby notifies this honorable Court and the parties of its intention to oppose Plaintiffs’

motion for leave to file a second amended complaint (Dkt. No. 64) joining Twitter as an additional

Defendant in this action. This notice is timely filed in accordance with the terms of this Court’s

Order of March 25, 2021 (Dkt. No. 75) because Twitter is filing the notice within 10 days of

service (Dkt. No. 80). In further conformity with that Order, Twitter will file such opposition

within the time prescribed by the Order, i.e., by April 28, 2021. Twitter further states that neither

the filing of this notice, the appearance of counsel, nor the filing of its forthcoming opposition is
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intended to waive any applicable argument or defense that it may have relating to this action, and

that it hereby expressly reserves all such arguments and defenses, including but not limited to its

rights to contest personal jurisdiction and venue, and its rights to move to transfer, stay, or dismiss

any claim that may be permitted to be asserted against it in this Court.


                                               Respectfully submitted,


                                               /s/ __Felicia H. Ellsworth__________
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                                               Attorneys for Proposed Additional
                                               Defendant TWITTER, INC.


Dated: April 18, 2021
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                                 CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF System will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) on April 18,

2021.


                                                      /s/__Felicia H. Ellsworth__________
                                                          Felicia H. Ellsworth
